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                                                       Exhibit 2
                           Designations of Deposition Testimony of Mark Bell (July 7, 2022)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
       15:23                   16:1
       21:8                   21:17
       21:18                  21:20
       21:21                  21:23
       22:13                  22:17
       24:4                    24:4
       31:15                  31:21
       32:8                   32:11
       38:21                  38:25
       39:1                    39:3
       40:2                    40:2
       43:11                  43:16
       51:14                   52:9
       52:11                  52:18
       52:23                  53:16
       54:8                   54:13
       58:11                  58:15
       58:16                  58:21
       58:22                   59:5
       59:6                   59:11
       59:12                  59:17
       59:18                   60:1
       60:2                    60:7
       60:18                  60:22
       72:20                  72:24
       73:10                  73:14

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              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
        74:3                     74:3
        79:3                     79:5
        83:10                   83:24
        85:23                   86:11
        88:18                    89:8
        90:16                   90:19
        95:20                   95:23
        96:12                   96:17
        97:22                    98:4
       103:11                  103:16
      103:17                   103:20
      103:21                   103:24
        104:1                   104:3
        104:9                  104:12
        105:8                  105:14
       115:16                  115:23
       120:11                  120:16
      120:17                   120:21
        122:1                   122:5
        123:5                  123:14
      125:19                   125:22
      125:23                    126:2
        133:3                   133:8
        133:9                  133:13
      133:14                   133:19
        134:2                   134:7
      134:19                   134:25
      136:22                    137:9
      137:10                   137:14

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             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
      138:18                  138:20
      138:24                   139:3
       139:4                   139:9
      142:20                  142:24
       143:4                   143:7
       143:8                  143:12
      145:17                  145:19
      150:15                  150:18
       176:3                   176:7
       176:8                  176:13




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